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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                8:06CR248
                                              )
GUSTAVO LARA,                                 )         SCHEDULING ORDER
                                              )
                    Defendant.                )


      IT IS ORDERED that the following is set for hearing on October 5, 2006 at 9:30
a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L.
Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska:

      - Motion to Suppress [35] filed by the defendant

       Defendant’s Motion to Extend Time to File Brief [36] is granted. Defendant’s
brief shall be due on or before September 21, 2006.

      Since this is a criminal case, the defendant must be present, unless excused by
the Court. An interpreter will be provided by the Court.

      DATED this 14th day of September, 2006.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
